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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 NORTHERN DIVISION
                                    AT COVINGTON


CRIMINAL NO. 15-42-DLB-CJS-3

UNITED STATES OF AMERICA                                                              PLAINTIFF


v.                           REPORT AND RECOMMENDATION


KEVIN R. MITCHELL                                                                   DEFENDANT

                                         **********

         On May 3, 2017, this matter came before the Court for a Final Revocation Hearing on the

U.S. Probation Office’s Amended Violation Report dated April 26, 2017, reporting that Defendant

Kevin Mitchell had violated conditions of his supervised release. Defendant was present in Court

and represented by Steven N. Howe, and the Government was represented by Assistant U.S.

Attorney (AUSA) Elaine K. Leonhard.1 The proceeding was electronically recorded and is contained

in the Court’s audio file at KYED-COV__2-15-cr-42-DLB-CJS_20170503_140330; the official

record of this proceeding was certified by Kati Bramble, Deputy Clerk.

         Upon call of this matter at the Final Revocation Hearing on Supervised Release Violations,

the parties informed the Court that they had reached an agreement on the pending violations.

Specifically, Defendant agreed to plead guilty to the violations as set forth in the April 26, 2017,

Amended Violation Report. In addition, Defendant agreed to waive allocution and his right to

appeal any sentence ultimately imposed by presiding District Judge Bunning. In exchange, the

Government agreed to a recommended sentence of 6 months of imprisonment with 2 years of

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         AUSA Leonhard appeared on behalf of AUSA Anthony J. Bracke.
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supervision to follow. The parties also agreed that immediately upon release to the new term of

supervision, Defendant shall be placed in a residential treatment program to be determined by the

U.S. Probation Office. The undersigned finds that the parties’ agreement is an appropriate

disposition of this matter, and therefore it will be recommended that Defendant’s supervised

release be revoked and that he be sentenced to a 6-month term of imprisonment, with a 2-year

term of supervised release to follow, with the special condition that immediately upon his release,

he be placed in a residential treatment program as directed by his Probation Officer.

I.       Background

         On December 3, 2015, Defendant pleaded guilty to conspiracy to distribute heroin in

violation of 21 U.S.C. § 846. (R. 43). On March 31, 2016, the Court sentenced Defendant to 18

months of imprisonment with a 3-year term of supervised release to follow. (R. 63). Defendant’s

period of supervision began on February 2, 2017. (R. 70).

         On April 19, 2017, United States Probation Officer (USPO) Melissa A. Mutter filed a

Petition for Warrant for Offender under Supervision, requesting a warrant be issued to bring

Defendant before the Court on charges that he violated conditions of his supervised release. (R. 70).

Defendant was arrested, and on April 24, 2017, he was brought before the undersigned for initial

appearance on supervised release violations.

         As discussed above, at the Final Revocation Hearing, defense counsel informed the Court

that Defendant was prepared to admit to the violations contained in the April 26, 2017, Amended

Violation Report. Defendant confirmed this was his intention. Prior to taking his plea, the

undersigned explained to Defendant the statutory maximum term of incarceration and supervised




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release as well as the applicable Guidelines range.2 The undersigned further explained that while

a recommendation of an appropriate sentence will be made to the presiding District Judge, it is

ultimately the decision of District Judge Bunning as to the final sentence to be imposed. Defendant

acknowledged his understanding and stated that he was prepared to admit to the violations in the

Amended Violation Report. Defendant also acknowledged that he understands he will not be

permitted to withdraw his admission to the violations if the final sentence should differ from what

he seeks.

         Accordingly, after being placed under oath, Defendant admitted and entered a guilty plea to

the violations of his supervised release as set out in the April 26, 2017, Amended Supervised Release

Violation Report of U.S. Probation Officer Specialist Melissa A. Mutter. Specifically, Defendant

admitted to the following violations of supervised release and the factual circumstances set forth

below:

         Violation No. 1:       The Defendant shall refrain from excessive use of alcohol and
                                shall not purchase, possess, use, distribute, or administer any
                                narcotic or controlled substance or any paraphernalia related
                                to such substances, except as prescribed by a physician.
                                (Grade C violation).

         Defendant provided multiple urine specimens on various dates which tested positive for

controlled substances as follows:



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         Here, because Defendant’s underlying criminal offense was a Class C felony, the maximum term
of incarceration upon revocation of his supervised release is 24 months. See 18 U.S.C. § 3583(e)(3). United
States Sentencing Guideline (U.S.S.G.) § 7B1.4(a) suggests a revocation range of imprisonment of 4 to 10
months, based upon Defendant’s criminal history category of I and his highest admitted violation being a
Grade B violation. Defendant may also be placed back on supervised release following any term of
imprisonment. The maximum term of further supervised release under the statute would be 3 years to life
less any term of imprisonment that is imposed upon revocation. See 18 U.S.C. § 3583(h); 21 U.S.C.
§ 841(b).

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               February 7, 2017:       buprenorphine and alcohol
               February 22, 2017:      cocaine metabolite and alcohol
               February 28, 2017:      cocaine metabolite
               March 3, 2017:          cocaine metabolite
               March 31, 2017:         opiate metabolite
               April 5, 2017:          opiate metabolite
               April 14, 2017:         cocaine metabolite

In addition to these positive drug screens, Defendant was revived by paramedics using naloxone after

overdosing on heroin on March 25, 2017.

       Violation No. 2:        The defendant shall participate in a substance abuse treatment
                               program and shall submit to periodic drug and alcohol testing
                               at the direction and discretion of the probation officer during
                               the term of supervision. (Grade C violation).

       Defendant admitted to missing three appointments scheduled with treatment providers on

March 16, March 23, and April 17, 2017, in violation of this condition.

       Violation No. 3:        The defendant shall not commit another federal, state, or local
                               crime (Grade B violation).

       Defendant admitted to using controlled substances (Violation No. 1) which, under Sixth

Circuit law, is equivalent to possession of those substances and therefore a violation of federal law,

21 U.S.C. § 844(a).

       The undersigned is satisfied from the dialogue with Defendant that he understands the nature

of the violations as charged, he has had ample opportunity to consult with counsel, and that he enters

his guilty plea to the charges knowingly and voluntarily. Therefore, based on Defendant’s plea of

guilty to the violations, the undersigned finds and will recommend that the District Court find that

Defendant has violated conditions of his supervised release as charged. Defendant has waived his

right to allocution and his right to appeal the sentence ultimately imposed by the presiding

District Judge. Both parties also waived the 14-day period to file objections to this Report and


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Recommendation. The only issue remaining is the appropriate sentence to impose for the admitted

violations.

II.    Sentencing

       Defendant having admitted to violating his supervised release, the question of sentencing is

presented. The Court is mindful of the need to impose a sentence that is sufficient, but not greater

than necessary, to comply with the purposes set forth in 18 U.S.C. § 3553(a). See id. § 3583(e). In

her April 26, 2017, Amended Violation Report, USPO Specialist Mutter recommends a sentence of

imprisonment of 6 months, with a 2-year term of supervised release to follow, with the special

condition that immediately upon release, Defendant be placed in a residential treatment program to

be determined by the Probation Office. Defendant, his counsel, and the Assistant United States

Attorney agreed with this recommendation.

       After review of the factual circumstances of the violations and the Defendant’s case history,

the undersigned finds that the agreed-upon recommended sentence is sufficient, but not greater than

necessary to comply with the statutory purposes. Specifically, the agreed-upon 6-month term of

incarceration falls within the Guidelines range and is sufficient to afford adequate deterrence to

Defendant’s criminal conduct and to impress upon Defendant the seriousness of abiding by the

conditions of his supervised release. Moreover, the recommendation will provide Defendant with

the opportunity to participate in a residential substance abuse treatment program immediately upon

release to his new 2-year term of supervision. Defendant is in need of residential treatment to

facilitate his successful transition back into society and it appears he has not participated in such a

residential treatment program to date. To be successful on supervision, Defendant will need to

actively participate in treatment and take advantage of the opportunities and support provided him


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by the U.S. Probation Office. Further violations, particularly those involving controlled substance

abuse, will be a great disappointment and will not be looked upon favorably by the Court.

III.      Recommendation

          Accordingly, IT IS RECOMMENDED that:

          1.        Defendant KEVIN R. MITCHELL be found to have VIOLATED the terms of his

supervised release as set out in the April 26, 2017, Amended Violation Report;

          2.        Defendant’s supervised release be REVOKED;

          3.        Defendant be SENTENCED to the custody of the Attorney General for a term of

imprisonment of 6 months, with credit for time served since his April 24, 2017, detention, and

with a 2-year term of supervised release to follow subject to the same terms and conditions as

originally imposed and with the special condition that immediately upon his release, he be placed

in a residential treatment program as directed by his Probation Officer; and,

          4.        The District Court recommend to the Bureau of Prisons that Defendant be placed at

the federal correctional facility located in Ashland, Kentucky, for service of the sentence imposed.

          The Clerk of Court shall forthwith submit the record in this matter to the presiding District

Court Judge for consideration of this Report and Recommendation, Defendant and the United States

having waived the period for the filing of objections hereto.

          Dated this 5th day of May, 2017.




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